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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     AUGUSTA DIVISION


UNITED STATES OF AMERICA


              VS.                                                   CASE NO: CR114-62


KAMILYA NICHOLSON

                                           ORDER


       The defendant, Kamilya Nicholson, surrendered for service of her sentence on January 5,

2015 and is in the custody of the Bureau of Prisons.

       Surety, Beverly Smith, has requested the return of the $1,000.00 cash security posted on

the defendant's $10,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $1,000.00 posted

by Beverly Smith for this defendant, plus all accrued interest thereon, be returned to Beverly

Smith at P.O. Box 507, Brooklet, GA 30458.




       This /^*4ayof                              2015 at Augusta, Georgia.




                                                       HONORABLE J. RANDAL HALL
                                                       UNITED STATES DISTRICT JUDGE
                                                       SOUTHERN DISTRICT OF GEORGIA
